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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                No.
                vs.

                                                                Title 18, United States Code,
                                                                Section 115(a)(l(B).
STEVEN I. VIZCARRONDO,

                              Defendant,




                                           INDICTMENT


THE GRAND JURY CHARGES:                                                            FEB 0 3 2015
       At all times relevant and material to this Indictment:


                                            COUNT I


                           (Influencing Federal Official by Threat)

       On or about January 27, 2015, in Jackson County, in the Southern District of Illinois,

                                  STEVEN VIZCARRONDO


        the defendant, did threaten to assault and murder R.O., a Soeial Security Administration

employee, with intent to impede, intimidate and interfere R.O. while he was engaged in the

performance of his official duties, in violation of Title 18, United States Code, Seetion

115(a)(1)(B).


                                                     A TRUE BILL
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                                                    rTwigginton
                                        United States Attorney
                                        Southern District of Illinois




                                         <r—CJ^
                                        JOI^ C. CONSTANCE
                                        Special Assistant United States Attorney



Recommendation:   Detention
